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2 AO 472 (Rev. 12/03) Order of Detention Pending Trial


                                          UNITED STATES DISTRICT COURT
                        SOUTHERN                                               District of                                   OHIO
          UNITED STATES OF AMERICA
                     V.                                                                   ORDER OF DETENTION PENDING TRIAL
             ABRAHAM BRAMBILA                                                         Case Number: 2:05-CR-152(5)
                              Defendant
    In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. I conclude that the following facts require the
detention of the defendant pending trial in this case.
                                                                           Part I—Findings of Fact
G (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has been convicted of a G federal offense G state
          or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed - that is
          G a crime of violence as defined in 18 U.S.C. § 3156(a)(4).
          G an offense for which the maximum sentence is life imprisonment or death.
          G an offense for which a maximum term of imprisonment of ten years or more is prescribed in
                                                                                                                                                                                 .*
          G a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18 U.S.C.
               § 3142(f)(1)(A)-(C), or comparable state or local offenses.
G (2) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local offense.
G (3) A period of not more than five years has elapsed since the G date of conviction G release of the defendant from imprisonment
          for the offense described in finding (1).
G (4) Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably assure the
         safety of (an) other person(s) and the community. I further find that the defendant has not rebutted this presumption.
                                                               Alternative Findings (A)
X    (1) There is probable cause to believe that the defendant has committed an offense
         G for which a maximum term of imprisonment of ten years or more is prescribed in 21 U.S.C. §801 et seq.                                    .
         G under 18 U.S.C. § 924(c).
G    (2) The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will reasonably assure
         the appearance of the defendant as required and the safety of the community.
                                                               Alternative Findings (B)
X    (1) There is a serious risk that the defendant will not appear.
X    (2) There is a serious risk that the defendant will endanger the safety of another person or the community.




                                                Part II—Written Statement of Reasons for Detention
    I find that the credible testimony and information submitted at the hearing establishes by  X clear and convincing evidence G a prepon-
derance of the evidence that
Defendant is charged with a very serious drug related offense and the weight against the defendant is strong. He has few family ties to this
community, and has familial ties to other communities, including Mexico.




                                                       Part III—Directions Regarding Detention
     The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections facility separate,
to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The defendant shall be afforded a
reasonable opportunity for private consultation with defense counsel. On order of a court of the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver the defendant to the United States marshal for the purpose of an appearance
in connection with a court proceeding.                                                                                            Digitally signed by Norah McCann King
                                                                                Norah McCann King                                 DN: cn=Norah McCann King, c=US
                                                                                                                                             Date: 2005.08.19 11:16:12 -04'00'
                August 19, 2005                              Signature Valid



                       Date                                                                           Signature of Judge
                                                                                     Norah McCann King, United States Magistrate Judge
                                                                                                Name and Title of Judge
*Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act (21 U.S.C. § 951
et seq.); or (c) Section 1 of Act of Sept. 15, 1980 (21 U.S.C. § 955a).
